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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 CHARMIN MINER, et al.,

                       Plaintiffs,                        Civil Action No. 13-633 (BAH)

                       v.                                 Judge Beryl A. Howell

 DISTRICT OF COLUMBIA, et al.,

                       Defendants.


                                 MEMORANDUM OPINION

       The two plaintiffs in this matter, Charmin Miner and Gary Baldwin, allege that the

defendants, the District of Columbia and four District of Columbia Metropolitan Police

Department (“MPD”) Officers, violated the plaintiffs’ constitutional and common law rights

during a traffic stop at the Anacostia Metro Station in Southeast Washington, D.C. See generally

First Am. Compl. (“FAC”), ECF No. 13. The defendants now seek summary judgment, pursuant

to Federal Rule of Civil Procedure 56, on all claims. Defs.’ Mot. Summ. J. (“Defs.’ Mot.”) at 1–

2, ECF No. 26. For the reasons set forth below, the defendants’ motion is granted in part and

denied in part.

I.     BACKGROUND

       The parties dispute many aspects, and the import, of the events giving rise to the instant

suit. Compare Defs.’ Statement of Undisputed Material Facts (“Defs.’ SMF”), ECF No. 26, with

Pls.’ Resp. Defs.’ SMF (“Pls.’ SMF”), ECF No. 28-1. The factual allegations set out in the FAC,

as supported and supplemented by the record, are summarized here, with relevant disputes

identified where necessary.




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       On February 6, 2012, the plaintiffs “were dropping their friend off at his apartment when

they noticed another vehicle pull in front of them.” Defs.’ SMF ¶ 1. As the plaintiffs drove

away, the vehicle they had previously noticed “backed up and traveled in the same direction as

they did.” Id. ¶ 2. The plaintiffs allege that, in doing so, the unidentified vehicle “started

chasing [them]” through a nearby alley, driving so quickly as to stir up road debris as it passed.

Pls.’ SMF ¶ 2. Alarmed, the plaintiffs admit that Plaintiff Miner, who was driving, “began to

make ‘quick’ lefts and ‘quick’ rights to lose the [other] vehicle . . . traveling at about 50 or 60

miles per hour,” Defs.’ SMF ¶¶ 3–4, although the plaintiffs contend that, at least initially, the

plaintiffs were attempting to allow the unidentified vehicle “to get around [them],” Pls.’ SMF ¶

3. The unidentified vehicle was only identified as an unmarked police SUV at the time of the

plaintiffs’ stop and detention. FAC ¶¶ 10, 15, 19. The plaintiffs allege that when the defendant

officers allegedly began chasing the plaintiff’s vehicle, the defendant officers had no probable

cause to detain them, a state of affairs that continued at the Anacostia Metro Station. See FAC

¶¶ 64–66.

       As the defendants continued following the plaintiffs, the plaintiffs believed they were

being chased by unknown assailants, Pls.’ SMF ¶ 5, eventually resulting in the plaintiff driving

“on the wrong side of the street” at up to “80 or 90 miles per hour,” Defs.’ SMF ¶ 5. After

approximately five minutes, the plaintiffs believed “that they had lost the [other] vehicle,” but

upon seeing the vehicle again, the plaintiffs again began to speed to escape. Defs.’ SMF ¶ 6.

Eventually, the plaintiffs “drove into a ‘one-way’ street that was labeled with a ‘Do Not Enter’

sign traveling at about 70 miles per hour” at the Anacostia Metro Station. Defs.’ SMF ¶ 7. The

plaintiffs “believe that, when pursued, they were being subjected to a carjacking or gang




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intimidation” and therefore “sought to drive [their] vehicle to an open, well-illuminated area.”

FAC ¶¶ 13–14.

       Plaintiff Miner states that as he approached the Metro Station he “was really looking for a

police officer, or somebody to run to,” Pls.’ Opp’n Defs.’ Mot. Summ. J. (“Pls.’ Opp’n”) Ex. 1

(Dep. of Plaintiff Charmin Miner (“Pl. Miner’s Dep.”)) at 29:5-7, ECF No. 28-3. Plaintiff Miner

avers that he came to a stop next to a Washington Metropolitan Area Transit Authority (“Metro”)

Police Officer, to whom he stated “somebody’s chasing me, somebody’s chasing me.” Id. at

29:18-19.

       Shortly after Plaintiff Miner brought his vehicle to a halt, four people, later identified as

MPD officers, emerged from the pursuing SUV and “yelled to [the plaintiffs] ‘Where the guns

and drugs at?’” Defs.’ SMF ¶ 8. The plaintiffs allege that at this time, the four MPD officers

“pulled Mr. Miner and Mr. Baldwin from Mr. Miner’s vehicle, threw them on the ground, and

put guns against their bodies, i.e., their heads and backs.” FAC ¶ 14. Plaintiff Baldwin stated at

his deposition that an unknown officer “just came over and you know, took his hand and pushed

my back down and put the knee on my back, you know, make sure I wouldn’t go nowhere.”

Defs.’ SMF ¶ 9. Plaintiff Miner alleges that “Officer Elliott” grabbed him by the shirt “and

threw [him] on the ground,” Defs.’ SMF ¶ 11, “pointed [a] gun at Plaintiff [Miner’s] head,” Pls.’

SMF ¶ 11, and stepped on Plaintiff Miner’s glasses, which had fallen off his face, Defs.’ SMF ¶

11. As Plaintiff Miner was being “forced into a passive position on the ground,” Plaintiff Miner

avers that he “asked the officers several times why they did not turn on their lights or sirens,” but

did not receive an answer. FAC ¶ 19. Plaintiff Miner also alleges that he was “picked . . . up off

the ground and . . . put on the hood of [a] car,” Defs.’ SMF ¶ 13, after Plaintiff Miner had his

hands placed behind his back, id. ¶ 12. Both plaintiffs allege that as a result of these actions,



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including the MPD officers “aggressively point[ing] guns” at them, the plaintiffs were put “in

fear for their lives.” FAC ¶ 17.

       The plaintiffs allege that they were detained “against their will and without legal

justification for approximately one half hour,” FAC ¶ 20, during which time “the officers asked

for and ran their names in the system,” after which the plaintiffs were told “they were free to

leave.” Defs.’ SMF ¶ 14. Plaintiff Miner was not issued a traffic citation. FAC ¶ 22.

       The next day, Plaintiff Miner “spoke with Assistant Chief of Police Diane Groomes and

told her about the incident.” FAC ¶ 23. After documenting his allegations in an email on

February 8, 2012, “Assistant Chief Groomes acknowledged Mr. Miner’s email and wrote that his

complaint would be forwarded to MPD’s Internal Affairs Division.” Id. Plaintiff Miner was

later contacted by an MPD Lieutenant, who interviewed Plaintiff Miner regarding the incident.

Id. ¶ 24. The plaintiffs were later informed that “MPD found that there were insufficient facts to

substantiate Mr. Miner’s complaint,” and that the officers involved were “not discipline[d] . . .

for the February 6, 2012 incident, although MPD did discipline them for not patrolling their

assigned area on that date.” Id. ¶ 25.

       The plaintiffs allege nine causes of action under common law and Federal law: Count I

for common law “False Detention and/or False Arrest,” FAC ¶¶ 35–37; Count II for common

law “Assault,” id. ¶¶ 38–40; Count III for common law “Battery,” id. ¶¶ 41–43; Count IV for

common law “Negligent Supervision,” id. ¶¶ 44–46; Count V for “Negligent Supervision under”

42 U.S.C. § 1983, id. ¶¶ 47–57; Count VI for violation of the plaintiffs’ Fourth Amendment right

to be free from unreasonable searches and seizures, pursuant to 42 U.S.C. § 1983, against the

District of Columbia, id. ¶¶ 58–62; Count VII for violation of the plaintiffs’ Fourth Amendment

right to be free from unreasonable searches and seizures, pursuant to 42 U.S.C. § 1983, against



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the individual MPD officers, id. ¶ 63–66; Count VIII for violation of the plaintiffs’ Fourth

Amendment right to be free from the use of excessive force during a seizure, pursuant to 42

U.S.C. § 1983, against the District of Columbia, id. ¶¶ 67–72; and Count IX for violation of the

plaintiffs’ Fourth Amendment right to be free from the use of excessive force during a seizure,

pursuant to 42 U.S.C. § 1983, against the individual MPD officers, id. ¶¶ 73–77.

       The plaintiffs initially filed this matter in D.C. Superior Court and the defendants

removed the case to this Court. Joint Not. Removal at 1, ECF No. 1. MPD Chief Cathy Lanier

and former District of Columbia Mayor Vincent Gray, who were named as defendants in the

initial complaint, was dismissed upon the defendants’ motion at a hearing held November 1,

2013. Minute Order, Nov. 1, 2013. Following discovery, the defendants have moved for

summary judgment on all remaining claims against all remaining defendants.

II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 56 provides that summary judgment shall be granted “if

the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a). Summary judgment is properly

granted against a party who, “after adequate time for discovery and upon motion, . . . fails to

make a showing sufficient to establish the existence of an element essential to that party’s case,

and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S.

317, 322 (1986). The burden is on the moving party to demonstrate that there is an “absence of a

genuine issue of material fact” in dispute. Id. at 323.

       In ruling on a motion for summary judgment, the Court must draw all justifiable

inferences in favor of the nonmoving party and accept the nonmoving party’s evidence as true.

Tolan v. Cotton, 134 S. Ct. 1861, 1863 (2014) (per curiam); Anderson v. Liberty Lobby, Inc., 477



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U.S. 242, 255 (1986). As the Supreme Court recently stressed, “a ‘judge’s function’ at summary

judgment is not ‘to weigh the evidence and determine the truth of the matter but to determine

whether there is a genuine issue for trial.’” Tolan, 134 S. Ct. at 1866 (quoting Anderson, 477

U.S. at 249). When a court “fail[s] to credit evidence” presented by the nonmovant “that

contradict[s] some of its key factual conclusions, the court improperly weigh[s] the evidence and

resolve[s] disputed issues in favor of the moving party.” Id. at 1866 (internal quotations and

citations omitted).

       In evaluating the evidence offered at summary judgment, the Court is only required to

consider the materials explicitly cited by the parties, but may on its own accord consider “other

materials in the record.” FED. R. CIV. P. 56(c)(3). Discerning whether a genuine factual dispute

requires presentation to a jury “is as much art as science.” Estate of Parsons v. Palestinian

Auth., 651 F.3d 118, 123 (D.C. Cir. 2011). To be “genuine,” the nonmoving party must establish

more than “[t]he mere existence of a scintilla of evidence in support of [its] position,” Anderson,

477 U.S. at 252, and cannot rely on “mere allegations” or conclusory statements, Veitch v.

England, 471 F.3d 124, 134 (D.C. Cir. 2006); see also Greene v. Dalton, 164 F.3d 671, 675

(D.C. Cir. 1999); Harding v. Gray, 9 F.3d 150, 154 (D.C. Cir. 1993); accord FED. R. CIV. P.

56(e). Rather, the nonmoving party must present specific facts that would enable a reasonable

jury to find in that party’s favor on all essential elements of the claim on which that party will

bear the burden of proof at trial. See FED. R. CIV. P. 56(c)(1); Equal Rights Ctr. v. Post Props.,

633 F.3d 1136, 1141 n.3 (D.C. Cir. 2011) (noting that at the summary judgment stage, plaintiff

“can no longer rest on such ‘mere allegations,’ but must ‘set forth’ by affidavit or other evidence

‘specific facts,’ . . . which for purposes of the summary judgment motion will be taken to be

true,’” quoting Sierra Club v. EPA, 292 F.3d 895, 898–99 (D.C. Cir. 2002) (ellipsis in original));



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see also Solomon v. Vilsack, 763 F.3d 1, 12 (D.C. Cir. 2014); United States ex rel. K & R Ltd.

P'ship v. Mass. Hous. Fin. Agency, 530 F.3d 980, 983 (D.C. Cir. 2008). “If the evidence is

merely colorable, or is not significantly probative, summary judgment may be granted.”

Anderson, 477 U.S. at 249–50 (citations omitted).

III.   DISCUSSION

       The plaintiffs’ claims can be generally divided into two categories: those against the

municipality and those against the individual MPD officers. Four claims are raised exclusively

against the municipality: common law negligent supervision (Count IV); negligent supervision,

pursuant to 42 U.S.C. § 1983 (Count V); and Fourth Amendment false arrest and excessive force

violations, pursuant to 42 U.S.C. § 1983 (Counts VI and VIII, respectively). The remaining five

claims in Counts I, II, III, VII, and IX, are raised against the individual MPD officers. The

claims against the municipality are examined first before turning to the claims against the

individual officers.

       A.      Summary Judgment Is Warranted In Favor Of The District of Columbia On
               All Claims Against The Municipality In Counts IV, V, VI, and VIII

       In a Section 1983 suit, alleging violation of constitutional rights by an individual acting

under color of state law, the District of Columbia, as a municipality, “cannot be held liable solely

because it employs a tortfeasor—or, in other words, a municipality cannot be held liable under §

1983 on a respondeat superior theory.” Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978)

(emphasis in original). Instead, to succeed on a Section 1983 claim against a municipality, the

plaintiff must show both a predicate violation of some right, privilege, or immunity secured by

the Constitution or laws of the United States, see 42 U.S.C. § 1983, and “that the municipality’s

custom or policy caused the violation.” Warren v. District of Columbia, 353 F.3d 36, 38 (D.C.

Cir. 2004) (citing Collins v. City of Harker Heights, 503 U.S. 115, 123–24 (1992)). The


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plaintiffs appear to concede this requirement by arguing in their opposition that “evidence that

the officers’ inappropriate actions are accepted by policymakers . . . establishes municipal

liability.” Pls.’ Opp’n at 6. The defendants do not argue, nor does the Court need to address, the

first prong of the test, the presence of a predicate violation, since the plaintiffs have failed to put

forward the evidence necessary to prove municipal liability.

        The plaintiffs are correct that one of three recognized methods for showing that a

municipal policy or custom caused a constitutional violation for Section 1983 purposes is that

“the municipality or one of its policymakers explicitly adopted the policy that was ‘the moving

force of the constitutional violation.’” Jones v. Horne, 634 F.3d 588, 601 (D.C. Cir. 2011). In

the plaintiffs’ view, Assistant Chief Groomes “condoned” the individual officers’ behavior in

following and stopping the plaintiffs without reason and using excessive force against them

during the stop. Pls.’ Opp’n at 6–7. Yet, the plaintiffs admit that Assistant Chief Groomes

opened an investigation into the defendant officers’ conduct and disciplined them for leaving

their designated patrol area. Pls.’ SMF ¶ 16. Nevertheless, following the investigation, the

plaintiffs contend that the failure to find sufficient facts “to support Mr. Miner’s allegations and

failing to discipline the officers for any of their actions other than patrolling the wrong area”

constitutes the “acceptance of the officers’ conduct.” Id. At base, then, the plaintiffs are

challenging the municipal defendant’s actions in investigating the plaintiffs’ claims and, after

finding insufficient evidence to support those claims, failing to discipline the officers involved

despite the insufficient evidence. See id. Assuming, arguendo, that these actions could

constitute “condoning” the officers’ behavior, the plaintiffs have offered no evidence that

Assistant Chief Groomes is a “policymaker” for the District of Columbia.




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       The Supreme Court has interpreted the term “policymaker” narrowly, noting that “when a

subordinate’s decision is subject to review by the municipality’s authorized policymakers,” those

policymakers “have retained the authority to measure the official’s conduct for conformance

with their policies.” City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (emphasis in

original). In this Circuit, courts “have held that a final policy maker ‘typically must be at least an

agency head or the governing body of an agency.’” Allen-Brown v. District of Columbia, No.

13-1341, 2014 WL 3051021, at *4 (D.D.C. July 7, 2014) (quoting Coleman v. District of

Columbia, 828 F. Supp. 2d 87, 91 (D.D.C. 2011)). This requirement is in accord with the D.C.

Circuit’s holding in Tripett v. District of Columbia, that “[t]he only acts that count” for Monell

purposes “are ones by a person or persons who ‘have final policymaking authority [under] state

law.’” 108 F.3d 1450, 1453 (D.C. Cir. 1997) (quoting Jett v. Dallas Indep. Sch. Dist., 491 U.S.

701, 737 (1989)).

       In Allen-Brown, the court found that the “Director of MPD’s Medical Services Branch”

was not a “policymaker” for municipal liability purposes, since “there was nothing in the record

to indicate that [the Director] makes broad departmental policy decisions at all.” Allen-Brown,

2014 WL 3051021, at *5. Other similarly high-ranking government officials who fell short of

being the person with whom, for lack of a better term, the “buck stops,” have been found

insufficiently empowered to trigger municipal liability. See, e.g., Sheller-Paire v. Gray, 888 F.

Supp. 2d 34, 40 (D.D.C. 2012) (finding assistant fire chief and fire “Department’s upper

management” insufficiently empowered to impute municipal liability as final decision-making

authorities); Coleman, 828 F. Supp. 2d at 91–92 (finding both Assistant Fire Chief and overall

Chief of Fire Department insufficiently empowered to impute municipal liability absent statutory

grant of final authority over Department actions); Byrd v. District of Columbia, 807 F. Supp. 2d



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37, 75 (D.D.C. 2011) (finding Director of D.C. Parks and Recreation Department insufficiently

empowered to impute municipal liability absent statutory grant of final authority over

Department actions).

       In the District of Columbia, the Mayor is ultimately responsible for the police

department, see D.C. Code § 5-101.03, and the Mayor appoints a Chief of Police, “with the

advice and consent of the [City] Council,” D.C. Code § 5-105.01(a-1)(1), to administer the

police department. All police officers are required to “respect and obey the Chief of Police as

the head and chief of the police force, subject to the rules, regulations, and general orders of the

Council of the District of Columbia and the Mayor of the District of Columbia.” D.C. Code § 5-

127.03. Thus, by law, police officers below the level of the Chief of Police—and, arguably, the

Chief herself, see Coleman, 828 F. Supp. 2d at 92 (finding Fire Department Chief non-

“policymaker” because, inter alia, the “Mayor and the City Council have expressly reserved

supervisory powers to themselves”)—are subordinates whose “decision[s are] subject to review

by the municipality’s authorized policymakers.” See Praprotnik, 485 U.S. at 127.

       Set against the legal background, the conclusion is clear: even assuming that Assistant

Chief Groomes “condoned” the actions of the four MPD officers at issue in this matter, the

plaintiffs have submitted no evidence that Assistant Chief Groomes is imbued with the final

authority necessary to qualify as a “policymaker” for Monell purposes. Moreover, as described

above, the statutory scheme would appear to foreclose holding a municipality liable for an

Assistant Chief’s actions. Assistant Chief Groomes is not a “policymaker” such that her actions

can be attributed to the municipality. See id.; see also Tripett v. District of Columbia, 108 F.3d

at 1453 (noting in similar D.C. Code provision where Mayor appointed Director of Department

of Corrections, said Director, Mayor, and City Council were “policymakers” for Section 1983



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purposes). Thus, the plaintiffs’ policymaker theory must fail and summary judgment must be

granted to the District of Columbia on the plaintiffs’ claims under Section 1983, since the

plaintiff has failed to satisfy Monell’s requirement by identifying a policy or custom that caused

the plaintiffs’ alleged injuries.

        The plaintiffs also assert a “deliberate indifference theory” of municipal liability,

predicated on the notion that Assistant Chief Groomes’ “condon[ed]” the officers’ actions by

acquiescing “in longstanding practice or custom which constitutes standard operating

procedure.” Pls.’ Opp’n at 6–7. Courts determine whether municipal liability may lie on such a

theory “by analyzing whether the municipality knew or should have known of the risk of

constitutional violations, but did not act.” Warren v. District of Columbia, 353 F.3d 36, 39 (D.C.

Cir. 2004) (internal quotation marks omitted). In other words, “faced with actual or constructive

knowledge that its agents will probably violate constitutional rights, the city may not adopt a

policy of inaction.” Id. (citing Farmer v. Brennan, 511 U.S. 825, 841 (1994)).

        The plaintiff fails to present evidence to show that the municipality in this case had

“actual or constructive knowledge that its agents will probably violate constitutional rights.” Id.

As support for its theory, the plaintiff produced a study conducted between 1994 and 1999 that

found issues with MPD officers’ use of force, specifically, that MPD officers were using

excessive force too often. See Pls.’ Opp’n at 7. This single study, which was more than a

decade old at the time of the incident, also noted that the MPD had made strides by 1999, when

the study was published, in improving its compliance with the law regarding excessive force.

U.S. Dep’t of Justice, Findings Letter re: Use of Force by the Washington Metropolitan Police

Department, (no date), available at

http://www.justice.gov/crt/about/spl/documents/dcfindings.php. Thus, in addition to being stale,



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the study itself would seem to indicate that the MPD was moving in the right direction and had

no reason to know it had any current issues when the events giving rise to the instant complaint

occurred. See Moore v. District of Columbia, 2015 WL 474532, at *14 (D.D.C. Feb. 5, 2015)

(finding eight-year-old study showing pattern of lack of probable cause for disorderly conduct

arrests too remote in time to support notice of potential policy or custom in MPD at summary

judgment stage). Consequently, Counts V, VI, and VIII, all of which assert claims against the

District of Columbia under Section 1983, are dismissed.

         The sole remaining claim against the District of Columbia is Count IV, which alleges

common law negligent supervision for failing to ensure that the individual officers did not

violate the plaintiffs’ constitutional rights. FAC ¶¶ 44–46. For a common law negligent

supervision claim to succeed in the District of Columbia, 1 the plaintiff must “show that an

employer knew or should have known its employee behaved in a dangerous or otherwise

incompetent manner, and that the employer, armed with that actual or constructive knowledge,

failed to adequately supervise the employee.” District of Columbia v. Tulin, 994 A.2d 788, 794

(D.C. 2010) (quoting Giles v. Shell Oil Corp., 487 A.2d 610, 613 (D.C. 1985)); accord Rawlings

v. District of Columbia, 820 F. Supp. 2d 92, 114 (D.D.C. 2011). Negligence actions require that

the plaintiff “establish[] three elements: (1) the applicable standard of care; (2) a deviation from

that standard by the defendant, and (3) a causal relationship between the deviation and the

injury.” Robinson v. Wash. Metro. Area Transit Auth., 774 F.3d 33, 38 (D.C. Cir. 2014) (quoting




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  Although the parties do not address this issue, the Court applies the law of the forum state—in this instance, the
District of Columbia—when adjudicating common law claims. See Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938)
(“Except in matters governed by the Federal Constitution or by acts of Congress, the law to be applied in any case is
the law of the state. . . . [t]here is no federal general common law.”); see also, CHARLES ALAN WRIGHT AND ARTHUR
R. MILLER, ET AL., 19 FED. PRACTICE & PROC. JURIS. § 4520 (2d ed.) (noting Erie doctrine applies in in non-diversity
cases).

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Varner v. District of Columbia, 891 A.2d 260, 265 (D.C. 2006)) (internal quotation marks

omitted).

         The defendants correctly point out that the plaintiffs have failed to identify an expert to

establish the standard of care the defendants allegedly breached. Defs.’ Mem. Supp. Defs.’ Mot.

(“Defs.’ Mem.”) at 6, ECF No. 26. Under District of Columbia law, “where the subject in

question is so distinctly related to some science, profession or occupation as to be beyond the

ken of the average layperson, the plaintiff must proffer expert testimony to establish the

applicable standard of care.” Robinson, 774 F.3d at 39 (internal quotation marks and citations

omitted). Although the plaintiffs rely on Wesby v. District of Columbia, 841 F. Supp. 2d 20, 48

(D.D.C. 2012), for the principle that “expert testimony is [not] required in all police negligent

supervision cases,” Wesby is distinguishable on its facts in a manner that is fatal to the plaintiffs’

claim.

         In affirming the District Court’s holding that an expert on the standard of care for

supervising police officers was not required in Wesby, the D.C. Circuit acknowledged that

“courts often require expert testimony where the training and supervision of police officers is

concerned,” but found that “the fact that the supervising official was on the scene and directed

the officers to make the unlawful arrests distinguishe[d]” Wesby from those cases. Wesby v.

District of Columbia, 765 F.3d 13, 30 (D.C. Cir. 2014). In the instant matter, there is no

contention that Assistant Chief Groomes was “on the scene” with the officers at the Anacostia

Metro Station. Thus, the instant matter falls into the realm of cases where “expert testimony is

routinely required,” because the negligence at issue “involves issues of safety, security and crime

prevention.” Briggs v. Wash. Metro. Area Transit Auth., 481 F.3d 839, 845–46 (D.C. Cir. 2007).

Asking a jury to evaluate the appropriate standard of care in supervising police officers would



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result in the jury being “forced to engage in idle speculation regarding the duty of care governing

. . . the training of [the defendants’] employees, and such speculation on the part of a jury is not

permissible.” Parker v. Grand Hyatt Hotel, 124 F. Supp. 2d 79, 90 (D.D.C. 2000). Although

Wesby stands for the proposition that expert testimony may not be necessary when a supervisor

is present on the scene of an incident, such an exception does not apply to the instant case,

meaning the plaintiffs’ failure to identify an expert for the purpose of establishing the requisite

standard of care is fatal to the plaintiffs’ negligent supervision claim. See Briggs, 481 F.3d at

845–46. Consequently, Defendant District of Columbia’s motion for summary judgment as to

Count IV is granted.

       B.      Material Factual Disputes Preclude Summary Judgment In Favor Of The
               Individual Officers On Counts I, II, III, VII, and IX

       The remaining counts against the individual officers involve myriad factual disputes that

preclude summary judgment for either party. The validity of Counts I and VII, which allege

common law false detention and seizure, respectively, in violation of the Fourth Amendment

under Section 1983, rests on whether the officers in question had probable cause to detain the

plaintiffs. See Scott v. District of Columbia, 101 F.3d 748, 753–54 (D.C. Cir. 1996) (“The

elements of a constitutional claim for false arrest are substantially identical to the elements of a

common-law false arrest claim . . . the focal point of the action is the question whether the

arresting officer was justified in ordering the arrest of the plaintiff.”). The defendants incorrectly

assert that the Court may not look beyond the plaintiffs’ statements and pleadings in evaluating

this Rule 56 motion. Defs.’ Reply Pls.’ Opp’n Defs.’ Mot. (“Defs.’ Reply”) at 1, ECF No. 29

(stating that “the District’s motion is based on Plaintiffs’ testimony concerning their encounter

with the police” and asserting that deposition testimony of the officers involved is “a red-

herring”). To the contrary, the Court may examine the entire record for the purposes of a Rule


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56 motion, and the Court must “consider . . . the cited materials” in the parties’ memoranda.

FED. R. CIV. P. 56(c)(2).

       The defendants assert that the plaintiffs’ own admissions that they were driving in an

erratic manner necessarily demonstrate that the defendant officers had probable cause to stop

them. Defs.’ Mem. at 8–9; Defs.’ Reply at 12–13. This argument is substantially undercut by

the defendant officers’ deposition testimony, denying that the officers chased the plaintiffs or

observed them committing any traffic infractions. Pls.’ Opp’n at 4 (citing depositions of Officers

Leboo and Torres). The plaintiffs’ admissions about driving over the speed limit and the wrong

way on a roadway while fleeing from perceived threats from a pursuing vehicle, see Pls.’ SMF ¶

5, would likely constitute probable cause for stopping the plaintiffs, if the officers admitted to

observing these traffic infractions. Notably, the defendant officers do not admit to chasing the

plaintiffs and, thereby, appear to foreclose the possibility that they observed the plaintiffs

engaging in those acts. See, e.g., Pls.’ Opp’n Ex. 7 (MPD “Final Investigative Report,” Mar. 12,

2012) at 8, ECF No. 28-9 (statement from officer involved in incident that the officers “did not

engage in a vehicular pursuit”). At least one officer stated during the subsequent MPD internal

investigation that the officers did not chase the plaintiffs because their vehicle lacked the engine

power to conduct a high speed chase and “because they know better than to chase.” Id. at 10–11.

Indeed, for MPD officers to engage in a high-speed chase under the circumstances alleged in this

case, may have violated MPD policy, see MPD Gen. Order 301.03 (Vehicular Pursuits), Feb. 25,

2003, available at https://go.mpdconline.com/GO/GO_301_03.pdf, and this potential violation

may be contributing to the unusually sharp and ironic divergence in accounts between the

plaintiffs, who fully admit to traffic violations, in the face of the defendant officers’ denial of

observing them. In any event, based upon the Court’s review of the entire record, a genuine



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dispute of material fact clearly exists as to whether the defendant officers had probable cause to

stop the plaintiffs since the parties dispute whether the defendant officers actually witnessed

Plaintiff Miner driving in an erratic manner with Plaintiff Baldwin in the vehicle. Thus, the

defendants’ motion for summary judgment as to Counts I and VII is denied.

       Counts II, III, and IX, for common law battery, assault, and the use of excessive force,

respectively, are also subject to material factual disputes that preclude summary judgment. The

material dispute as to whether the defendant officers observed any traffic infractions, or are able

to articulate any reasonable suspicion to stop the plaintiffs’ vehicle such that a half-hour search

of the plaintiffs’ vehicle and detention of the plaintiffs was reasonable, see Terry v. Ohio, 392

U.S. 1, 18–19 (1968); Olaniyi v. District of Columbia, 763 F. Supp. 2d 70, 94 (D.D.C. 2011),

leads directly to a material dispute as to whether the defendant officers were authorized to use

any force against the plaintiffs, let alone whether the defendants’ knowledge at the time of the

stop supported the actions alleged by the plaintiffs, see Hundley v. District of Columbia, 494

F.3d 1097, 1101 (D.C. Cir. 2007) (holding that “an unreasonable use of force” under Section

1983 “also is an assault and battery under D.C. law”).

       Since clear issues of material fact persist pertaining to the knowledge of the defendants at

the time they stopped the plaintiffs, as well as the actions that occurred before and during the

stop, summary judgment is precluded as to the defendant officers on Counts I, II, III, VII, and

IX.

IV.    CONCLUSION

       For the foregoing reasons, the defendants’ motion is granted in part and denied in part.

The defendants’ motion is granted as to the counts against the District of Columbia, namely,

Counts IV, V, VI, and VIII. The defendants’ motion is denied as to the counts against the



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individual officers, namely, Counts I, II, III, VII, and IX. Since all dispositive motions have

been resolved, the remaining parties shall appear for a pre-trial conference on June 19, 2015 at

10:00 a.m. in Courtroom 15, unless the parties seek referral to a Magistrate Judge for mediation

or settlement negotiations. Absent such a referral, the parties shall be prepared to begin trial with

voir dire at 9:15 a.m. on June 29, 2015 in Courtroom 15.

       An Order consistent with this Memorandum Opinion will issue contemporaneously.
                                                                       Digitally signed by Judge Beryl A. Howell
       Date: April 9, 2015                                             DN: cn=Judge Beryl A. Howell, o=United
                                                                       States District Court, ou=District of
                                                                       Columbia,
                                                                       email=Howell_Chambers@dcd.uscourts.g
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                                                                       Date: 2015.04.09 11:29:39 -04'00'
                                                      __________________________
                                                      BERYL A. HOWELL
                                                      United States District Judge




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